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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

    In re:                                              Chapter 11


    FTX TRADING LTD., et al.,                           Case No. 22-11068 (JTD)

             Debtors. 1
                                                        (Jointly Administered)




                            NOTICE OF SUBSTITUTION OF COUNSEL
             PLEASE TAKE NOTICE that, pursuant to Rule 9010-2(a) of the Local Rules of

Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

Delaware, Brandon Williams, hereby appears through his proposed substituted counsel, David V.

Fontana, Esq.. Brandon Williams, Esq. substitutes David V. Fontana, Esq. for his original counsel

of record, Gregory L. Arbogast, Esq. in the above-referenced cases. Gregory L. Arbogast, Esq.

will no longer represent Brandon Williams in the above referenced cases in any capacity, and all

such representations will hereafter be undertaken by David V. Fontana, Esq..




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        The last four digits of FTX Trading Ltd.’s tax identification number and Alameda Research
LLC’s tax identification number are 3288 and 4063 respectively. Due to the large number of
debtor entities in the above-captioned jointly-administered chapter 11 cases, a complete list of the
debtors (collectively, “Debtors”) and the last four digits of their federal tax identification numbers
is not provided herein. A complete list of such information may be obtained on the website of the
Debtors’ claims and noticing agent at https://cases.ra.kroll.com/FTX.

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Dated: March 22, 2024

GEBHARDT & SMITH LLP                            GEBHARDT & SMITH LLP

By: /s/ David V. Fontana, Esquire               By: /s/ Gregory L. Arbogast
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Attorneys for Defendant Brandon Williams
                                                Former Counsel to Brandon Williams




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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, pursuant to Local Rule 9010-2(c), this Notice of Substitution

of Counsel was served via ECF on all parties that have requested notice in this case.


                                     /s/ David V. Fontana, Esq.
                                     David V. Fontana, Esq.




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